1112712018 Case 18-24164-RAM Dog1 43 pikiled.Q4/92/19 Page 1 of 1

PDP Electronic Title

STATE OF FLORIDA

= Title #: 0125850957 Title type:
=, Issue date: 2017/01/03 Lic/Tag/Control #: 0253010580

= VIN: YAMA3014J617
Vehicle info: 2017 YAM VS
Odometer reading: Odometer reading date:

= Owner: ROSELI MABEN ADAMS-BURSTEIN
Co-owner:

Owner 3:

_ Owner address: 10521 SW 45 ST

MIAMI, FL 33165

fe) Lienholder: YAMAHA MOTOR FINANCE CORP
PO BOX 203

HUNT VALLEY, MD 21030

=i Title valid date: 2017/10/24

= Lienholder account #:

Close

 

 

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1/1
